Case 0:22-cv-60744-WPD Document 3 Entered on FLSD Docket 04/18/2022 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case CASE  NO:
                                         No.: 0:22-cv-60744-WPD

 ANDREA DARDY,
     Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY GROUP, LLC.
 dba ARS ACCOUNT RESOLUTION SERVICES,
 INPHYNET SOUTH BROWARD, LLC,
 EQUIFAX INFORMATION SERVICES, LLC,
 EXPERIAN INFORMATION SOLUTIONS, INC.,
 and TRANSUNION, LLC
       Defendants.
                                _______ /

                                SUMMONS IN A CIVIL ACTION

 TO:            EQUIFAX INFORMATION SERVICES, LLC
                by serving The Prentice Hall Corporation System as registered agent
                1201 Hays St.
                Tallahassee, FL 32301

        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)
 — or 60 days if you are the United States or a United States agency, or an officer or employee of the
 United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an
 answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
 The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address
 are:

                                Joel D. Lucoff
                                Debt Shield Law
                                3440 Hollywood Blvd., Suite 415
                                Hollywood, FL 33021

        If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint.
 You also must file your answer or motion with the court.

                                                       CLERK OF COURT


                                                       ____________________________
         Apr 18, 2022
 Date: _______________                                 Signature of Clerk of Deputy Clerk
                                                                            s/ Ketly Pierre
Case 0:22-cv-60744-WPD Document 3 Entered on FLSD Docket 04/18/2022 Page 2 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case CASE  NO:
                                         No.: 0:22-cv-60744-WPD
 ANDREA DARDY,
     Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY GROUP, LLC.
 dba ARS ACCOUNT RESOLUTION SERVICES,
 INPHYNET SOUTH BROWARD, LLC,
 EQUIFAX INFORMATION SERVICES, LLC,
 EXPERIAN INFORMATION SOLUTIONS, INC.,
 and TRANSUNION, LLC
       Defendants.
                                _______ /

                                SUMMONS IN A CIVIL ACTION

 TO:            EXPERIAN INFORMATION SOLUTIONS, INC.
                by serving CT Corporation System as registered agent
                1200 S. Pine Island
                Plantation, FL 33324

        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)
 — or 60 days if you are the United States or a United States agency, or an officer or employee of the
 United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an
 answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
 The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address
 are:

                                Joel D. Lucoff
                                Debt Shield Law
                                3440 Hollywood Blvd., Suite 415
                                Hollywood, FL 33021

        If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint.
 You also must file your answer or motion with the court.


                                                       CLERK OF COURT


                                                       ____________________________
         Apr 18, 2022
 Date: _______________                                 Signature of Clerk of Deputy Clerk
                                                                            s/ Ketly Pierre
Case 0:22-cv-60744-WPD Document 3 Entered on FLSD Docket 04/18/2022 Page 3 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case CASE  NO:
                                         No.: 0:22-cv-60744-WPD

 ANDREA DARDY,
     Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY GROUP, LLC.
 dba ARS ACCOUNT RESOLUTION SERVICES,
 INPHYNET SOUTH BROWARD, LLC,
 EQUIFAX INFORMATION SERVICES, LLC,
 EXPERIAN INFORMATION SOLUTIONS, INC.,
 and TRANSUNION, LLC
       Defendants.
                                  _______ /

                                SUMMONS IN A CIVIL ACTION

 TO:            INPHYNET SOUTH BROWARD, LLC.
                by serving Corporation Service Company as registered agent
                1201 Hays Street
                Tallahassee, FL 32301

         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it
 or 60 days if you are the United States or a United States agency, or an officer or employee of the
 United States described in Fed. R. Civ. P. 12 (a)(2) or (3) you must serve on the plaintiff an answer
 to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
 answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address
 are:
                                Joel D. Lucoff
                                Debt Shield Law
                                3440 Hollywood Blvd., Suite 415
                                Hollywood, FL 33021

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint.

 You also must file your answer or motion with the court.

                                                       CLERK OF COURT


 Date:       Apr 18, 2022
                                                       Signature of Clerk of Deputy Clerk
                                                                            s/ Ketly Pierre
Case 0:22-cv-60744-WPD Document 3 Entered on FLSD Docket 04/18/2022 Page 4 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case CASE  NO:
                                         No.: 0:22-cv-60744-WPD

 ANDREA DARDY,
     Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY GROUP, LLC.
 dba ARS ACCOUNT RESOLUTION SERVICES,
 INPHYNET SOUTH BROWARD, LLC,
 EQUIFAX INFORMATION SERVICES, LLC,
 EXPERIAN INFORMATION SOLUTIONS, INC.,
 and TRANSUNION, LLC
       Defendants.
                                _______ /

                                SUMMONS IN A CIVIL ACTION

 TO:            TRANSUNION, LLC
                by serving The Prentice Hall Corporation System as registered agent
                1201 Hays St.
                Tallahassee, FL 32301

        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)
 — or 60 days if you are the United States or a United States agency, or an officer or employee of the
 United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an
 answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
 The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address
 are:

                                Joel D. Lucoff
                                Debt Shield Law
                                3440 Hollywood Blvd., Suite 415
                                Hollywood, FL 33021

        If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint.
 You also must file your answer or motion with the court.

                                                       CLERK OF COURT


                                                       ____________________________
         Apr 18, 2022
 Date: _______________                                 Signature of Clerk of Deputy Clerk
                                                                            s/ Ketly Pierre
Case 0:22-cv-60744-WPD Document 3 Entered on FLSD Docket 04/18/2022 Page 5 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case CASE  NO:
                                         No.: 0:22-cv-60744-WPD
 ANDREA DARDY,
     Plaintiff,

 v.

 HEALTHCARE REVENUE RECOVERY GROUP, LLC.
 dba ARS ACCOUNT RESOLUTION SERVICES,
 INPHYNET SOUTH BROWARD, LLC,
 EQUIFAX INFORMATION SERVICES, LLC,
 EXPERIAN INFORMATION SOLUTIONS, INC.,
 and TRANSUNION, LLC
       Defendants.
                                  _______ /

                                SUMMONS IN A CIVIL ACTION

 TO:            HEALTHCARE REVENUE RECOVERY GROUP, LLC.
                dba ARS ACCOUNT RESOLUTION SERVICES
                by serving Corporation Service Company as registered agent
                1201 Hays Street
                Tallahassee, FL 32301

         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it
 or 60 days if you are the United States or a United States agency, or an officer or employee of the
 United States described in Fed. R. Civ. P. 12 (a)(2) or (3) you must serve on the plaintiff an answer
 to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
 answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address
 are:
                                Joel D. Lucoff
                                Debt Shield Law
                                3440 Hollywood Blvd., Suite 415
                                Hollywood, FL 33021

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint.

 You also must file your answer or motion with the court.

                                                       CLERK OF COURT


 Date:        Apr 18, 2022
                                                       Signature of Clerk of Deputy Clerk
                                                                            s/ Ketly Pierre
